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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
                    EASTERN DIVISION, YOUNGSTOWN


IN RE: EAST PALESTINE TRAIN               : CASE NO.: 4:23-cv-00242
DERAILMENT                                :
                                          : JUDGE BENITA Y. PEARSON
Steven McKay, et al.,                     :
                                          :
Individually and on behalf of all others  :
similarly situated,                       :
                                          :
                    Plaintiffs,           :
                                          :
v.                                        :
                                          :
Norfolk Southern Corporation and Norfolk  :
Southern Railway Company,                 :
                                          :
                    Defendants            :
_________________________________________ :



PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
  DISMISS MASTER CONSOLIDATED CLASS ACTION COMPLAINT UNDER
  FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6) AND TO STRIKE UNDER
              FEDERAL RULE OF CIVIL PROCEDURE 12(f)
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                      STATEMENT OF THE ISSUES TO BE DECIDED

       1.      Whether Defendants fail to meet their burden to establish that Plaintiffs’ claims

for negligence, gross negligence, nuisance, and strict liability are preempted by the ICCTA,

FRSA, and HMTA and, therefore, Defendants’ motion to dismiss must be denied.

       2.      Whether, when construing the complaint in the light most favorable to Plaintiffs

and accepting all allegations as true, Plaintiffs have sufficiently pleaded all their claims and

request for punitive damages and, therefore, Defendants’ motions to dismiss and to strike must

be denied.

                              SUMMARY OF THE ARGUMENT

       The Norfolk Southern Defendants’ 1 conduct has caused thousands of people and their

property to be exposed to ultrahazardous chemicals, including those used as weapons in warfare,

after a train operated by Defendants derailed in East Palestine, Ohio, on February 3, 2023. The

chair of the National Transportation Board testified this derailment was “100% preventable.”

Master Consolidated Class Action Complaint ¶ 142 (“Complaint”) (Dkt. 31). Following the

derailment, Defendants intentionally detonated five vinyl chloride tankers, dumped the vinyl

chloride in a trench, and lit it on fire in a residential neighborhood, causing a massive toxic cloud

that traveled many miles out from the site. Nevertheless, Defendants have moved to dismiss the

Complaint arguing that Plaintiffs have failed to state a single cause of action against them.

Defendants’ arguments are without merit.

       First, Plaintiffs’ claims are not preempted by federal law. Congress has made clear that

the principal statute Defendants rely on in their preemption argument, the Federal Rail Safety

Act (FRSA), does not preempt state law claims when the government has not issued regulations

“covering” the subject matter of those claims or when the claims are based on violations of


1
 “Defendants” and/or Norfolk Southern” as used herein refer to Norfolk Southern Corporation
and Norfolk Southern Railway Company.

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regulations. Plaintiffs’ claims fall within the scope of these exemptions.

       Second, Defendants’ arguments regarding the sufficiency of Plaintiffs’ pleading of state

law causes of action are without merit. Plaintiffs not only pleaded extensive facts that support

their negligence and gross negligence claims, but also detail how Defendants’ failures caused the

derailment—far exceeding Plaintiffs’ burden at this stage of the litigation. Plaintiffs sufficiently

allege they suffered harm because of Defendants’ breaches by, among other things, detailing the

numerous harms Plaintiffs have suffered, including lost income, property damage, contamination

at residences and workplaces, and increased risk of serious and potentially fatal illnesses

including cancer and organ damage necessitating ongoing medical monitoring.

       Plaintiffs have sufficiently alleged strict liability claims based on Defendants engaging in

abnormally dangerous activities, including carelessly transporting over a million pounds of

hazardous chemicals and intentionally setting fire to them in a residential neighborhood.

       Plaintiffs have also adequately stated claims for statutory, private, and public nuisance

under applicable law, detailing Defendants’ negligent, careless, and intentional conduct that

caused particularized harm to Plaintiffs. Similarly, based largely on the same conduct, Plaintiffs

have adequately pleaded claims for trespass, trespass to chattels, and damage to agriculture under

applicable common law and statutes.

       Plaintiffs have sufficiently pleaded claims for ongoing medical monitoring arising from

their exposure to the highly toxic chemicals, including phosgene, released into the homes and

workplaces as a result of the derailment and subsequent intentionally set explosions and fire.

Consistent with a prevailing current view of Ohio law, Plaintiffs alleged medical monitoring as a

remedy under Ohio law, as well as pleading it as a stand-alone cause of action under

Pennsylvania and West Virginia law.

       Finally, Plaintiffs have adequately alleged a claim for punitive damages, detailing




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Defendants’ recklessness and conscious disregard for the rights and safety of others pre- and

post-derailment.

                                   FACTUAL BACKGROUND

       This derailment happened because the Norfolk Southern Defendants prioritized profits

over safety. Over the last four years, Defendants increased their profits by reducing the amount

they spent to repair, service, and maintain locomotives and freight cars, perform train

inspections, and pay engine crews and train crews. Compl. ¶¶ 77-82. They used outdated

equipment, including an older, less efficient type of braking system. Compl. ¶ 102. From 2019

through 2022, Norfolk Southern had the highest number of derailments among all carriers across

Pennsylvania, Ohio, and West Virginia. Compl. ¶¶ 91-93. In 2022, Defendants were warned by

federal officials that they: had defective rail components; faced an increased risk of sudden

failure with catastrophic potential; and exposed their crews to increased hazards and injuries

from defective equipment left in service. Compl. ¶ 103. Moreover, Defendants were found to

have committed several violations, including undercounting and inadequately observing rules

failures, and failing to verify the performance of operational tests. Id.

       Defendants’ flagrant disregard for safety and the resulting consequences coincides with

their adoption of “Precision Scheduled Railroading (PSR)” in 2019. Compl. ¶ 96. Defendants

implemented PSR to increase profits by drastically reducing safety measures. Compl. ¶¶ 97-107.

PSR eliminated necessary inspections, maintenance, repair, and safety devices with the intention

of increasing operating time. Compl. ¶¶ 98, 101. It eliminated jobs for inspectors, signalmen,

maintenance workers, and repair workers. Compl. ¶ 98. These eliminated positions were

designed to, among other things, ensure safe operation of trains between locations and to inspect

wayside “hotbox” detectors that indicate a train malfunction. Compl. ¶¶ 104, 105. As of February

3, 2023, there were no signalman employed in the area around East Palestine. Compl. ¶ 106.




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       This profits-over-safety strategy led to this 100% preventable disaster in East Palestine.

On February 3, 2023, Defendants’ Train 32N, known as “Train 32 Nasty” to rail workers

because of its known safety risks, set off on a downhill route to Pennsylvania with a lengthy 149

cars attached. Compl. ¶¶ 101-111. Train 32 N was loaded with approximately 1,600,000 pounds

of abnormally dangerous and ultrahazardous chemicals, including vinyl chloride. Compl. ¶ 124.

Defendants’ hotbox detectors, heat-measuring devices placed along the tracks, recorded high

temperatures from a wheel bearing on Train 32N over thirty miles outside of East Palestine.

Compl. ¶ 119. About ten miles later, another hotbox detector recorded a significantly higher

temperature, and the wheel bearing was already visibly on fire. Compl. ¶ 120. Despite the visible

fire and overheated wheel bearing, Train 32N continued barreling toward East Palestine for

another twenty miles; finally, after crossing another hotbox detector, the crew received an alarm

message to stop and inspect. Compl. ¶¶ 121-122. The engineer applied the dynamic brakes, and

the emergency brakes were engaged. But the train equipment malfunctioned, consistent with an

overheated wheel bearing, and the train derailed. Compl. ¶ 122.

       The derailment of the already-ablaze Train 32N caused a massive inferno that would burn

for days. Compl. ¶ 125. By February 4, 2023, approximately 3,500 fish had already been killed

by toxic runoff to nearby water streams. Compl. ¶ 131. A few days after the derailment,

Defendants became increasingly concerned because the pressure relief devices on one of the cars

containing vinyl chloride stopped working, raising fears that the car could explode. Compl.

¶¶ 132-135. Instead of releasing the pressure in that one car, Defendants, with full knowledge of

the extremely dangerous nature of vinyl chloride, detonated explosives on all five derailed cars

containing vinyl chloride and set the released vinyl chloride on fire. Compl. ¶¶ 136-137. This

eruption created byproducts, including hydrogen chloride and phosgene gas. Compl. ¶ 139.

(Phosgene was used as a chemical warfare agent during World War I and is banned by the 1925




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Geneva Protocol for use in war. Compl. ¶ 186.) A huge, thick plume of toxic smoke shot up from

the explosion and spread out over East Palestine and the surrounding area. Compl. ¶¶ 139, 140.

        As a result of the derailment and explosion, the people, residents, businesses, pets,

wildlife, property, crops, food, water, and air in a thirty-mile radius were exposed to significant

and harmful levels of toxins, including vinyl chloride, dioxins, ethylene glycol monobutyl ether,

isobutylene, benzene, butyl acrylate, ethylhexyl acrylate, diethylene glycol, hydrogen sulfide,

hydrogen cyanide, phosgene, hydrogen chloride. Compl. ¶¶ 143-193. The effect of exposure to

these chemicals in humans is disastrous. It can lead to serious and potentially fatal illnesses, such

as organ failure, nervous system depression, and cancer. Compl. ¶¶ 143-193.

        Plaintiffs’ Complaint alleges negligence, gross negligence/willful and wanton conduct,

strict liability, statutory nuisance, private nuisance, trespass, trespass to chattels, medical

monitoring, spoliation, and violations of several state laws protecting agriculture, the

environment, and animals. Compl. ¶¶ 227-408. The Complaint details Defendants’ failures

leading up to the derailment, including for example allegations regarding appropriate alarm

thresholds for wayside detectors, failure to keep a proper lookout while the train is in operation,

and violations of federal regulations related to inspections, maintenance, and training. Id. The

Complaint also details Defendants’ actionable conduct after the derailment, such as detonating

explosives on derailed hazardous material rail cars and setting fire to the released chemicals. Id.

Plaintiffs’ allegations go beyond mere notice pleading; they include details about condemning

reports from workers regarding Train 32N and Defendants’ history of safety violations, video

evidence of Train 32N on fire twenty miles from East Palestine, objective data from wayside

detectors along the route of Train 32N, distinct explanations of the toxic chemicals released or

produced from the derailment, and test results demonstrating the catastrophic impact from the

derailment and explosion. Compl. ¶¶ 109-122, 143-193.




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        Nevertheless, Defendants contend Plaintiffs have failed to allege a single actionable

claim and ask the Court to dismiss the Complaint in its entirety. Defendants’ motion should be

denied for the reasons detailed below.

                                       LEGAL STANDARD

        A Rule 12(b)(6) motion should not be granted unless “it appears beyond doubt that the

plaintiff can prove no set of facts in support of his claim which would entitle him to relief.”

Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007) (quoting Ricco v. Potter, 377 F.3d 599,

602 (6th Cir. 2004)). When reviewing a motion to dismiss, the Court construes “the complaint in

the light most favorable to the plaintiff, accept[ing] its allegations as true, and draw[ing] all

reasonable inferences in favor of the plaintiff.” Id. (citing Evans–Marshall v. Bd. of Educ., 428

F.3d 223, 228 (6th Cir. 2005)). The defendant has the burden of showing that the plaintiff has

failed to state a claim for relief. Id. Defendants also move to strike Plaintiffs’ request for punitive

damages. A motion to strike should only be granted when “the pleading to be stricken has no

possible relation to the controversy.” Brown & Williamson Tobacco Corp. v. United States, 201

F.2d 819, 822 (6th Cir. 1953).

                                           ARGUMENT

I.      PLAINTIFFS’ CLAIMS ARE NOT PREEMPTED

        Defendants incorrectly contend that Plaintiffs’ claims are preempted by federal law.

Although the Court will have to consider the potentially preemptive effect of three different

statutes, 2 the basis for denying Defendants’ motion is straightforward. As to the post-derailment

conduct, Defendants do not meet their burden of establishing preemption. Defendants fail to

address any post-derailment allegations, elide statutory provisions that allegedly cover the post-

derailment conduct, and fail to identify any cases preempting allegations of post-derailment


2
 The Federal Rail Safety Act (FRSA), the Hazardous Materials Transportation Act (HMTA),
and the Interstate Commerce Commission Termination Act (ICCTA).

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conduct under any relevant statute. As to the pre-derailment conduct, Defendants’ arguments rest

on an assortment of errors, including a misapplication of the preemption standards, a tendency to

rely on cases that were decided at summary judgment rather than a motion to dismiss, and a

failure to credit Plaintiffs’ factual allegations as true, as required on a motion to dismiss. The

motion should be denied.

       When a plaintiff’s claim involves matters of railroad safety, courts generally should

analyze preemption under the FRSA framework. CSX Transp., Inc. v. Pub. Utilities Comm. of

Ohio, 901 F.2d 497, 501 (6th Cir. 1990), cert. denied 498 U.S. 1066 (1991). Defendants’ reliance

on the HMTA and the ICCTA is largely misplaced. As discussed below, Congress has made its

intent clear with respect to FRSA preemption: the FRSA does not preempt state law claims when

the government has not issued regulations “covering” the subject matter of those claims or when

the claims are based on violations of regulations. Plaintiffs’ claims fall within the scope of these

exemptions.

       A.      Claims Based On Defendants’ Post-Derailment Conduct Are Not Preempted.

       Defendants argue that the FRSA, ICCTA, and HMTA preempt Plaintiffs’ allegation in

this case. “Federal preemption is an affirmative defense that requires the defendant . . . to prove .

. . [that] “federal preemption applies.” Byrne v. CSX Transp., Inc., 541 F. App'x 672, 674 (6th

Cir. 2013). There is a presumption “against the supplanting of historic state police powers by the

federal government unless preemption is the clear and manifest purpose of Congress.” Tyrrell v.

Norfolk S. Ry. Co., 248 F.3d 517, 522 (6th Cir. 2001).

       Defendants fail to meet this burden with respect to any of the Complaint’s allegations of

conduct occurring after the derailment. These allegations include Defendants’ decision to

detonate explosives on all five derailed cars containing vinyl chloride and to set the released

vinyl chloride on fire, causing a massive explosion that sent toxic chemicals over East Palestine

and the surrounding area. Compl. ¶¶ 139-140; see also id. ¶¶ 232 (z-ee, gg-ll) (alleging violations


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of duties following the derailment, including , inter alia, Defendants failure to properly dispose

of or otherwise eliminate the hazardous material from the derailment site, failure to contain the

spread of hazardous materials, and failure to timely evacuate an appropriate geographical area.).

       Defendants argue generically that all Plaintiffs’ allegations are preempted by a

combination of the FRSA, ICCTA, or HMTA, but their motion does not specifically address any

post-derailment conduct or attempt to explain how any of these allegations could be preempted.

This is unsurprising, as these statutes generally address matters of railroad transportation. The

FRSA, for example, governs matters “related to railroad safety,” 49 U.S.C. § 20106, the ICCTA

preempts state laws “that may reasonably be said to have the effect of managing or governing

rail transportation, while permitting the continued application of laws having a more remote or

incidental effect on rail transportation,” Adrian & Blissfield R. Co. v. Vill. of Blissfield, 550 F.3d

533, 539-40 (6th Cir. 2008), while HMTA preemption is limited in relevant part to laws relating

to the “designing, manufacturing, fabricating, inspecting, marking, maintaining, reconditioning,

repairing, or testing” of a package or container used in transporting hazardous materials such as

by rail, 49 U.S.C. § 5125(b)(1)(E). None of these statutes reach the post-derailment conduct at

issue here so Defendants simply ignore them.

       Defendants not only fail to cite any case law preempting post-derailment conduct, but one

of their lead cases, Tipton v. CSX Transportation, Inc., 2016 WL 11501426 (E.D. Tenn. July 7,

2016), expressly rejected preemption of post-derailment claims. The Tipton court held that

claims concerning conduct occurring “after derailment” such as the duty to “control, mitigate,

and remediate [a] chemical release” are not preempted. 2016 WL 11501426 at *12. The same

result follows here.




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       B.      The Court Should Reject Defendants’ Preemption Argument Under The
               FRSA.

               1.      The FRSA does not preempt claims based on conduct that is not
                       covered by any regulation.

       Although Congress enacted the FRSA to “promote safety in every area of railroad

operations” and the Secretary of Transportation is authorized to “prescribe regulations … for

every area of railroad safety,” “the preemptive effect of the [FRSA] reaches only state laws

covered by” those regulations. MD Mall Assocs., LLC v. CSX Transp., Inc., 715 F.3d 479, 489–

90 (3d Cir. 2013) (emphasis added, cleaned up). “Because the term ‘cover’ is a restrictive term,

preemption will not apply if the FRSA regulation in question merely touches upon or relates to

the subject matter of state law. Rather, pre-emption will lie only if the federal regulations

substantially subsume the subject matter of the relevant state law.” Id. (emphasis added, cleaned

up). “Normal State negligence standards apply where there is no Federal action covering the

subject matter.” 49 C.F.R. § 217.2. Accordingly, to prevail on their preemption defense,

Defendants must show that federal regulations “substantially subsume” the subject matter of

Plaintiffs’ claims. Defendants have not done so.

       Defendants have not identified any regulation that covers Plaintiffs’ allegations relating

to wayside defect detectors. Plaintiffs’ claims are based, in part, on allegations that Defendants

did not (1) properly place the detectors, (2) implement proper policies to use the detectors with

appropriate alarm thresholds and criteria for determining when a potentially dangerous condition

exists, or (3) properly maintain and inspect the detectors. See, e.g., Compl. ¶ 232(l). The

Complaint alleges these detectors captured the temperature increases and had Defendants

promptly stopped the train to inspect the derailment would have been diverted. See id.

Defendants argue (MTD, p. 15) that those allegations are preempted by Part 215, which includes

regulations relating to the inspection of train cars. But the Federal Railroad Administration (FRA)

has specifically acknowledged that there are no regulations regarding wayside defect detectors.


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The FRA recently issued a Safety Advisory to encourage the continued use of wayside detectors

to “enhance the mechanical reliability of rolling stock and the safety of railroad operations.”

FRA Safety Advisory 2023-01, 88 Fed. Reg. 13494 (March 3, 2023). After describing the East

Palestine derailment, the FRA acknowledged that “there are no Federal regulations requiring the

use of [wayside detectors] for freight trains, or any regulations related to the inspection,

calibration, and maintenance of this equipment…” Id. at 13495. Because there are no regulations

covering the subject matter, Plaintiffs’ claims relating to wayside defect detectors are not

preempted.

       While Defendants ask the Court to follow Tipton, 2016 WL 11501426, at *11 (E.D.

Tenn. July 7, 2016), that court’s reasoning does not support preemption here, and to the extent it

can be read to do so, it should be rejected as unpersuasive. In Tipton, the plaintiffs alleged that

CSX was obligated to install and maintain wayside defect detectors as part of its regulatory

obligations with respect to inspection and operation of the train. See id. at *10. The Tipton court

accepted the plaintiffs’ allegation to the extent they were seeking to enforce a duty that was

covered by existing regulation but held that plaintiffs could not impose additional duties as a part

of the railroad’s system of inspecting rail cars. See id. at 11-12. Here, Plaintiffs are not arguing

that Defendants were obligated to operate a system of wayside defect detectors as a part of their

existing regulatory requirements under Part 215. Rather, Plaintiffs allege that once Defendants

decided to employ those devices, they were obligated to do so in a reasonably prudent manner.

Because no regulation even addresses wayside defect detectors, much less “substantially

subsumes” their use, there is no federal law with which Plaintiffs’ claims are in conflict. And in

the absence of a regulation addressing those devices, Congress made clear that states can fill that

gap. See Norfolk Southern Ry. Co. v. Box, 556 F.3d 571, 572 (7th Cir. 2009).

       Plaintiffs also allege Defendants failed to act properly while the train was in transit and




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failed to timely detect the fire on the tank car that led to the derailment. See Compl. ¶¶ 232(d, f).

Defendants have not identified any regulations that substantially subsume allegations of errors

during transit. Defendants vaguely cite “track safety standards” (MTD, p. 14) to argue that state

law cannot require railroad employees to maintain a vigilant lookout during transit. But the

regulations Defendants invoke relate to pre-departure matters. Defendants have not cited any

regulations that provide “rules of the road” that would cover Plaintiffs’ post-departure allegations

– because there are none. Courts generally have found that allegations like failure to keep a

proper lookout are not preempted. See, e.g., MD Mall Assocs., LLC, 715 F.3d at 490 (noting that

courts have found claims including failure to keep a proper lookout are not “substantially

subsumed” by related regulations); Diehl v. CSX Transportation, Inc., 349 F.Supp.3d 487, 504

(W.D. Pa. 2018) (declining to dismiss allegations that defendant violated duty to keep a proper

lookout); Bradford v. Union Pac. R.R. Co., 491 F.Supp.2d 831, 838 (W.D. Ark. 2007)

(“[N]egligent operation has not been substantially subsumed by regulations enacted pursuant to

FRSA.”) (cited by Defendants at 15). 3 Plaintiffs allege Defendants’ employees should have

realized sooner their train had caught fire and Defendants should have had a better system in

place for monitoring malfunctions during transit. See, e.g., Compl. ¶¶ 113-123, 232(d, f). No

federal regulations substantially subsume those allegations.

       For similar reasons, Defendants fail to identify federal regulations that substantially

subsume the following allegations: 4

       •   Complaint ¶ 232(s) – Plaintiffs allege that Defendants (1) failed to adequately staff
           positions that plan, prepare, coordinate, and oversee transportation of hazardous

3
  Defendants’ other cited cases (at 15) do not support preemption here. In re Derailment Cases,
416 F.3d 787, 794 (8th Cir. 2005), involved a pre-inspection claim (at summary judgment and
prior to the Clarification Amendment). See supra at 5-6 (addressing Tipton v. CSX
Transportation, Inc., 2016 WL 11501426 (E.D. Tenn. July 7, 2016)).
4
  Identical allegations are made with respect to Plaintiffs’ punitive damage claim in Paragraph
407 of the Complaint. Throughout this brief, Plaintiffs do not repeat those allegations, but they
should not be preempted for the same reasons stated herein.

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           materials by railcar. 5
       •   Complaint ¶ 232(x) – Plaintiffs allege that Defendants failed to properly instruct and
           adequately train its agents, servants, employees, including but not limited to the train
           engineer and dispatcher, concerning safety and emergency procedures in the event of
           a possible derailment. 6

               2.      The FRSA does not preempt claims based on violations of regulations
                       or internal rules adopted pursuant to regulation.

       Even if federal regulations have been promulgated that “cover” aspects of Defendants’

conduct in this case, claims based on that conduct are not preempted if – as Plaintiffs have

alleged – Defendants breached their duties to Plaintiffs by violating those regulations. In 2007,

Congress amended the FRSA to clarify and limit the scope of its preemptive effect. The

“Clarification Amendment” provides in part that “[n]othing in this section shall be construed to

preempt an action under State law seeking damages for personal injury, death, or property

damage alleging that a party – (A) has failed to comply with the Federal standard of care

established by a regulation or order issued by the Secretary of Transportation (with respect to

railroad safety matters)…(B) has failed to comply with its own plan, rule, or standard that it

created pursuant to a regulation or order issued by either of the Secretaries.” 49 U.S.C.

§20106(b) (emphasis added).

       The Clarification Amendment was passed after the dismissal of several cases based on

preemption following the derailment of a train near Minot, North Dakota. That derailment, like


5
  Defendants argue (at 16) that Compl. ¶ 232(s) is substantially covered by regulations
concerning training, but this allegation relates to the failure to adequately staff trains, not
Defendants’ failure to adequately train its employees.
6
  The applicable training regulations do not mention derailments, and there is no general
regulation regarding derailments. There is also no regulation that applies to training about
derailments. Defendants’ cited cases do not support dismissal of the allegation relating to
training. In Trimbur v. Norfolk S. Ry. Co., 2015 WL 4755205, at *9 (S.D. Ohio Aug. 10, 2015),
the court dismissed a claim at summary judgment based on qualification of the train crew, based
on plaintiffs’ abandonment of that claim in expert testimony, not preemption. In Burlington N. &
Santa Fe Ry. Co. v. Doyle, 186 F.3d 790, 796-797 (7th Cir. 1999), the parties did not dispute that
FRA “covered” the state statutory provision, and the Court found preemption was warranted in
light of the “direct conflict” between the statutes. Here, the cited regulations do not cover the
provision.

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the one in East Palestine, caused the release of considerable amounts of toxic substances. See

generally, Lundeen v. Canadian Pac. Ry. Co., 507 F. Supp. 2d 1006 (D. Minn. Feb. 2, 2007).

The plaintiffs’ claimed the railroad failed to properly inspect its tracks in violation of federal

regulations. The district court initially dismissed the claims based on preemption, but the holding

was reversed after Congress passed the Clarification Amendment (which was retroactive to the

date of the Minot derailment). See Lundeen v. Canadian Pac. Ry. Co., 447 F.3d 606 (8th Cir.

2006) (Lundeen I); vacated and remanded by Lundeen v. Canadian Pac. Ry. Co., 532 F.3d 682,

688 (8th Cir. 2008) (Lundeen II). The court of appeals noted that the Clarifying Amendment

“reflected Congress’s disagreement with the manner in which the courts, including our own in

Lundeen I, had interpreted § 20106 to preempt state law causes of action whenever a federal

regulation covered the same subject matter as the allegations of negligence in a state court

lawsuit.” Lundeen II, 532 F.3d at 688 (8th Cir. 2008).

       Thus, as the Lundeen II court noted, Congress clearly expressed its intent that claims

based on violations of federal regulations are not preempted by the FRSA. And as courts have

frequently observed, “[t]he ultimate touchstone of preemptive effect is Congress’s purpose.”

Tyrrell, 248 F.3d at 522 (citing Medtronic v. Lohr, 518 U.S. 470, 484-485 (1996)). For that

reason, courts routinely hold that allegations that a defendant has violated regulations issued

under the FRSA or the HMTA are not preempted. Defendants admit (MTD, p. 12) that

“Plaintiffs allege…that Norfolk Southern violated ‘one or more regulations,’ listing a host of

regulations that Norfolk Southern purportedly violated,” and that “Norfolk Southern

violated…duties imposed by federal regulations.” Yet, Defendants attempt to sidestep this

admission by arguing they did not violate any regulations. But such a factual inquiry is not

proper on a motion to dismiss. Plaintiffs’ allegations put Defendants on notice of duties they

have violated, which is sufficient to overcome a preemption argument on a motion to dismiss.




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See Est. of Barney v. PNC Bank, Nat. Ass’n, 714 F.3d 920, 926 (6th Cir. 2013).

       For example, Plaintiffs allege (at ¶¶ 231, 232(a), and 237) that Defendants “negligently…

breached their duties to Plaintiffs,” by acting inconsistently “with federal regulations and

industry practice and procedures,” including by failing to properly inspect its trains and railcars

in violation of 49 C.F.R. § 215.13(a) (pre-departure inspections), § 215.15 (periodic inspections),

§ 215.11(a-b) (requiring qualified and knowledgeable inspectors), and § 215 Appendix D. 7 The

Complaint elaborates on these allegations extensively, explaining that Defendants reduced

“spending to...perform train inspections” as the result of their adoption of precision scheduled

railroading (“PSR”), Compl. ¶¶ 82, 95; “eliminate[d] necessary inspections” and “deprioritize[d]

rail and railcar inspections,” decreasing safety and materially increasing the risk of derailments,

id. ¶¶ 98, 101, and reduced the number of their employees responsible for conducting

inspections, id. ¶¶ 105-06. Plaintiffs expect to develop evidence through discovery to further

substantiate these and other allegations. Defendants are free to contest the facts at summary

judgment or trial, not at the motion to dismiss stage.

       Courts routinely hold that allegations invoking federal regulations with less or

comparable specificity are sufficient to survive a motion to dismiss on preemption grounds. See,

Smith v. CSX Transportation, Inc., 2014 WL 3732622, at *3 (N.D. Ohio July 25, 2014) (court

denied motion to dismiss based on FRSA preemption arguments because the FRA “has

prescribed regulations regarding the inspection of rails, [and] Plaintiffs allege [the defendant]

failed to comply with those regulations.”); Diehl, 349 F. Supp. 3d at 503 (court denied motion to


7
  Moreover, Defendants’ argument that they are exonerated because they did not own the railcar
that derailed or construct the wheel bearing that allegedly overheated is a red herring. Every
railroad operator accepting a railcar in service is responsible to inspect the railcar to make sure it
complies with all regulations. 49 C.F.R. § 215.13; Rule 1 of the Field Manual of the AAR
Interchange Rules (“[e]ach handling line is responsible for the condition of all cars on its line.”)
The railroad’s obligations continue throughout the train’s operation. 49 C.F.R. §§ 215.9,
215.115.

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dismiss based on FRSA preemption arguments because it would be incorrect to do so “at this

[motion to dismiss] stage” because “Plaintiff alleges that Defendant failed to comply with these

regulations.”)

       Similarly, the Court should deny Defendants’ motion to preempt Plaintiffs’ allegations

under the FRSA, which are premised on express violations of FRSA regulations. These

allegations include that Defendants breached duties owed to Plaintiffs by violating 49 C.F.R.

§ 215.115, which prohibits placing in service or continuing in service a train car with an

overheated roller bearing, Compl. ¶¶ 232(b), 237; that Defendants violated regulations relating to

inspections; 8 Defendants violated regulations relating to training; 9 and allegations that

Defendants violated regulations relating to the transportation of hazardous materials. 10


8
  Including (1) Compl. ¶¶ 232(g), 237(a), alleging that Defendants violated 49 C.F.R. § 215.9, in
failing to remedy defects and removing cars that are unsafe to run; and (2) Compl. ¶¶ 232(e),
237(a), (c) alleging that Defendants failed to properly calibrate, maintain, test, and operate its
train brake systems in violation of 49 C.F.R. § 215, App. D (requiring brake inspections),
§ 232.103(a-b, d-f, i, l), § 232.105(a-c, g)(requiring effective brake systems and inspections),
§ 232.111, § 202.203(b)(requiring policies and training on brake operation, testing, and
maintenance).
9
  Including: (1) Compl. ¶¶ 232(h-j), 237(d), alleging that Defendants violated 49 C.F.R. § 271
(specifically 49 C.F.R. § 271.5, § 271.101(a), § 271 Appendix A, § 271.103, § 271.105,
§ 271.107(a), § 271.109(b), and § 271.111(a)) in failing to properly develop and implement risk
reduction programs, risk-based hazard management programs, and safety performance
evaluation processes; (2) Compl. ¶¶ 232(t-v), alleging that Defendants failed to adequately hire,
train, manage, oversee, and supervise their agents, servants, and employees in violation of the
federal regulations that apply to the hiring, training, and supervision of engineers, conductors,
and safety-related employees. See hiring engineers (49 C.F.R. §§ 240.105(b), 240.203(a),
240.209, 240.211(a)), training engineers (§§ 240.123(a-b)), testing (§§ 240.125(a-c), 240.127(a-
d), 240.303, & 240 Appendix E), and supervising engineers (§§ 240.129(a-e), 240.201(a, d-e),
240.309(a-c)); hiring conductors (49 C.F.R. §§ 242.109(a), 242.119(b-c)), training conductors
(§§ 242.119(a, l)), testing for conductors (§§ 242.121(a-c), 242.123(a-d)), and supervision for
conductors (§§ 242.215(a-c)); hiring safety-related employees (49 C.F.R. §§ 242.109(a),
242.119(b-c)), training safety-related employees (§§ 242.119(a, l)), testing for safety-related
employees (§§ 242.121(a-c), 242.123(a-d)), and supervision for safety-related employees
(§§ 242.215(a-c)).
10
   Including: (1) Compl. ¶ 232(k), alleging that Defendants failed to operate, maintain, inspect
and/or repair the railway and railcars in such a way to ensure their safe and proper operation,
particularly when transporting hazardous materials, in violation of 49 C.F.R. § 215 et seq.
(freight car standards), 49 C.F.R. § 229 et seq. (locomotive safety standards), 49 C.F.R. § 271 et

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       The Court should likewise deny Defendants’ motion to dismiss Plaintiffs’ allegations

based on Defendants’ violations of their internal rules adopted pursuant to regulations, as

evidence may be developed during this litigation to prove such violations and it would be

improper to preclude such claims on a motion to dismiss.11

       C.      The HMTA Does Not Preempt Plaintiffs’ Claims

       Defendants argue for an overly broad application of preemption under the HMTA to

Plaintiffs’ claims premised on allegations “relating to the routing and handling of hazardous

materials, the reporting of the unintentional release of such materials, and the inspection and

maintenance of the container used to transport such materials.” MTD, p. 10. When a claim

involves matters of railroad safety, courts analyze preemption under the FRSA framework, rather

than the HMTA, regardless of whether the applicable regulations were issued under the FRSA or

the HMTA. In CSX Transportation., Inc. v. Public Utilities Comm. of Ohio, 901 F.2d 497, 501

(6th Cir. 1990), cert. denied 498 U.S. 1066 (1991), the Sixth Circuit held that the FRSA’s


seq. (risk reduction program), 49 C.F.R. § 174.3 (shipments of hazardous materials by rail must
be in conformance with the requirements of this subchapter); (2) Compl. ¶ 232(m) alleging that
Defendants failed to ensure proper procedures or systems for timely identifying any malfunctions
of the railway and railcars in order to prevent or mitigate derailments while transporting
hazardous materials in violation of 49 C.F.R. § 174 et seq. (requirements for transportation of
hazardous materials by rail, including inspections and tank car regulations), § 179.15 (pressure
relief devices), § 215.13 (pre-departure inspections), and § 215.15 (periodic inspections);
(3) Compl. ¶ 232(o), alleging that Defendants failed to ensure a proper mechanism for stopping
or slowing malfunctioning railcars in a timely manner to avoid a derailment while transporting
hazardous material in violation of 49 C.F.R. § 229.29 (air brake syst ems), § 232 (braking
systems), and § 174 (transportation of hazardous materials by rail); and (4) Compl. ¶¶ 232 (ff,
mm), alleging that Defendants failed to transport and handle hazardous materials in a manner
which would not cause Plaintiffs injury or harm, as Plaintiffs were foreseeable victims located
within the scope of the risk created by Defendants’ conduct; and failed to otherwise reasonably
pack, transport, maintain, dispose of, or otherwise handle hazardous materials in violation of 49
C.F.R. § 174 et seq. (transportation of hazardous materials by rail).
11
   The sole case on which Defendants rely (MTD, p. 13) to argue Plaintiffs’ allegations relating
to a violation of internal rules should be dismissed was decided at summary judgment, like every
case cited in that opinion. Plaintiffs have put Defendants on notice of their allegedly unlawful
conduct, as well as numerous federal regulations they have violated. As evidenced by the cases
cited by Defendants, Plaintiffs need not identify every such internal rule adopted pursuant to the
regulations that Defendants have violated at the pleading stage.

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preemption provisions, and not those of the HMTA, govern matters of railroad safety. See also,

e.g., Tipton, 2016 WL 11501426, at *15 (same).

         Consequently, as discussed in the previous section, a claim involving railroad safety is

not preempted by a regulation issued under the FRSA or the HMTA if the challenged acts or

omissions (1) are not “covered” by a regulation, (2) violate a duty established by a federal

regulation, or (3) violate the railroad’s own internal policies created pursuant to a regulation or

order.

         First, as explained in Part I.A above, as in Tipton, 2016 WL 11501426, at *13, Plaintiffs’

claims related to the “[the railroad’s] response to the derailment, and mitigation of the damage

from the toxic chemical spill and fire” are not preempted because they are not governed by any

regulation, whether issued under the FRSA or the HMTA. Id. at *14.

         Second, the remaining claims Defendants challenge (MTD, p. 20) are exempted from the

FRSA’s preemption provisions either for the reasons already discussed (see supra Part 1.B) or

because they claim a violation of a specific duty established by the HMTA regulations (or

Defendants’ internal rules created pursuant to those regulations). For example, Plaintiffs’

allegation in paragraph 232(c) that Defendants were negligent in “[a]ccepting and transporting

shipments of hazardous material that had pressure relief devices made of materials that were

incompatible with the lading” asserts a breach of the duty set forth in 49 C.F.R. § 179.15(a), which

provides that “[e]ach tank must have a pressure relief device, made of materials compatible with

the lading, having sufficient flow capacity to prevent pressure build-up in the tank to no more

than the flow rating pressure of the pressure relief device in fire conditions as defined in

appendix A of the AAR Specifications for Tank Cars (IBR, see § 171.7 of this subchapter).” See

Compl. ¶ 237(f) (alleging defendants violated Section 179.15(a)). Defendants’ violations of

specific HMTA regulations are not preempted under the plain language of the FRSA’s




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Clarification Amendment. The other duties allegedly breached that Defendants contend are

preempted are consistent with the FRSA and the HMTA regulations covering inspection,

maintenance, and repair of its equipment, including but not limited to the following:

        •   Defendants’ failure to ensure its agents, servants, and employees were properly and
            adequately instructed and trained while transporting hazardous substances (Compl.
            ¶¶ 232(w)) is consistent with Defendants’ failure to inspect and test for pressure
            release defects, leakage, valve defects, and “any other condition that makes the tank
            care unsafe for transportation…” under 49 C.F.R. §§ 173.31(a)(3), (d)(1)(ii), (vi),
            173.301(a)(3), 174.9(a)-(b), 180.205(d)(1), 180.205(f), 180, 180.509(b)(1), (4),
            180.509(d)(1), (3)-(6), 180.509(e)(1), (4), 180.509(h), (j), (k), 180.511(a), (b), (d), (f),
            (h), and 180.503 (defining “defects”). 12
        •   Defendants’ failure to ensure proper safety procedures, institute proper procedures
            and training for response to derailment of rail cars containing hazardous materials,
            and failure to have an emergency response plan to contain spread of and exposure to
            hazardous materials (Compl. ¶ 232(n) is consistent with Defendants’ obligations to
            “ensure that only qualified employees perform any inspections and testing. 49 C.F.R.
            § 179.7(c),” to make its own procedures for inspections, 49 C.F.R. §§ 179.7(a)(2),
            179.7(b)(3), and to make “a careful and critical examination of a tank car and its
            appurtenances performed by qualified personnel following the owner’s qualified
            procedures.” 49 C.F.R. § 180.503, and to have an emergency plan for handling fires
            (49 C.F.R. § 172.602(a)(4-5)), and was required to have a systematic training and
            testing program to ensure that employees know the HMTA regulations, “accident
            prevention methods,” and how to respond to emergencies. 49 U.S.C. § 5107(c); 49
            C.F.R. §§ 172.700(b), 172.704(a)(1)-(3), (c), 173.1(b), 179.7(d)-(e).

        Because Plaintiffs’ claims merely seek to enforce duties that are established by federal

regulations, they are not preempted under either the FRSA or the HMTA.

        The cases cited by Defendants are distinguishable. In Roth v. Norfalco, LLC, 651 F.3d

367 (3rd Cir. 2011), the plaintiff did not argue the defendant violated any federal regulation, and

the parties otherwise agreed that Norfalco complied with HMTA regulations. Similarly, in Mawa

Inc. v. Univar USA Inc., 2016 WL 2910084 (E.D. Pa. May 19, 2016), the plaintiff acknowledged

his allegations were covered by the HMTA and were not substantively the same as its regulations


12
  For tank cars containing hazardous gases, Defendants were obligated to ensure that “[t]he
pressure relief device must be capable of preventing rupture of the normally filled cylinder when
subjected to a fire test…” 49 C.F.R. § 173.301(f)(1). Because vinyl chloride is flammable, the
tank car also needed a tested thermal resistance system that would prevent release. 49 C.F.R.
§§ 179.18, 173.31(b)(4), 172.101.

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and did not allege violation of any rail safety regulations. The same is true for Parrish v. JCI

Jones Chems., Inc., 2019 WL 1410880, at *5 (D. Haw. Mar. 28, 2019) (“Plaintiffs do not allege

that Defendant violated any federal law.”); Trimbur v. Norfolk S. Ry. Co., 2015 WL 4755205, at

n. 6 (S.D. Ohio Aug. 10, 2015) (indicating that there is no allegation that Norfolk Southern

violated any regulation). Scarbrough v. Coleman Co., 2013 WL 3825248 (D. Colo. Jul. 24,

2013), is inapposite because it did not involve railroad safety or transportation, so the FRSA was

not implicated. 13

        D.      Plaintiffs’ Claims Are Likewise Not Preempted By The ICCTA.

        The ICCTA gives the Surface Transportation Board (STB) “exclusive” jurisdiction over

railroads in certain areas that “preempts the remedies provided under Federal or State law.” 49

U.S.C. §10501(b). The language of the ICCTA preemption provision appears to encompass

essentially all aspects of railroad operations. But when a claim involves railroad safety, the

FRSA, not the ICCTA, governs the preemption analysis.

        In Tyrrell, 248 F.3d 517, 522-23 (6th Cir. 2001), the court held that while the ICCTA

may preempt state laws or claims bearing on other railroad-related topics, claims dealing with

railroad safety are governed by the FRSA. See also Island Park, L.L.C. v. CSX Transportation,

Inc., 559 F.3d 96, 107 (2nd Cir. 2009) (“Several circuits that have examined the interplay

between ICCTA and FRSA have concluded that the federal statutory scheme places principal

federal regulatory authority for rail safety with the Federal Railroad Administration (“FRA”), not

the STB. We agree. Thus, FRSA provides the appropriate basis for analyzing whether a state

law, regulation or order affecting rail safety is pre-empted by federal law.”). Because the Ohio

regulation at issue in Tyrrell related to employee safety, the FRSA governed the preemption


13
   Defendants cite two other cases where a court, without any explanation, summarily found
preemption. Self v. Norfolk S. Ry. Co., 2007 WL 540373, at *4 (D. S.C. Feb. 15, 2007); Sanders
v. Norfolk S. Ry. Co., 2010 WL 297813, at *4 (D. S.C. Jan. 20, 2010). These cases are not
persuasive because the reasoning is not apparent.

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question rather than the ICCTA, even though the claim involved issues related to track

construction. Consequently, the plaintiff’s claims were not preempted because no regulation

“covered” the subject matter of track spacing. See Tyrrell, 248 F.3d at 525. The same conclusion

was reached in Smith, 2014 WL 3732622 (N.D. Ohio, July 25, 2014), a case involving a

derailment of hazardous chemical tank cars in the railroad’s yard that necessitated evacuation of

the surrounding community. The defendant argued that claims premised on the inspection and

installation of tracks in the yard were preempted by the ICCTA. The court held that the

“allegations involve railroad safety procedures, which the FRSA – not the ICCTA – was enacted

to regulate…. Because those claims relate to rail safety, and do not amount to economic

regulation of railroads, the ICCTA does not preempt Plaintiffs’ claims.” Id. at *2.

       Defendants have not pointed to any allegations that are unrelated to railroad safety. As

the claims have only an incidental effect on rail transportation and are not aimed at regulating

railroad operations, they should be analyzed under the FRSA, not ICCTA. As provided in Part

I.B above, the allegations in Plaintiffs’ Complaint involve claims not covered by, or involve

direct violations of, federal regulations. Defendants failed to meet their burden that preemption

should be applied.

       Defendants cite Adrian & Blissfield R. Co., 550 F.3d 533 (6th Cir. 2008) for the

proposition that the ICCTA “preempts all ‘state laws that may reasonably be said to have the

effect of managing or governing rail transportation.’” But Adrian concluded that the claims at

issue were not preempted. Defendants also neglected to provide the full quotation from the

decision, which went on to say that the ICCTA “permit[s] the continued application of laws

having a more remote or incidental effect on rail transportation.” Id. at 539 (cleaned up,

emphasis added). The cases that have found ICCTA preemption predominantly involve nuisance

claims arising out of noise, vibration, or blocked traffic stemming from sidetrack or switching




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operation or construction. See, e.g., Friberg v. Kansas City S. Ry. Co., 267 F.3d 439 (5th Cir.

2001) (suit by nursery business disrupted when RR extended its side track, resulting in traffic

blockages that caused business decline); Maynard v. CSX Transp., Inc., 360 F. Supp. 2d 836

(E.D. Ky. 2004) (suit by individuals whose property was blocked by trains on side tracks);

Rushing v. Kansas City S. Ry. Co., 194 F.Supp.2d 493 (S.D. Miss. 2001) (nuisance claim

alleging excessive noise and vibration from switching yard). 14

II.       PLAINTIFFS’ CAUSES OF ACTION ARE SUFFICIENTLY PLEADED AND,
          THEREFORE, DEFENDANTS’ MOTION TO DISMISS MUST BE DENIED.

          A.     Plaintiffs Have Properly Pleaded Claims For Negligence And Gross
                 Negligence

                 1.      Plaintiffs have adequately pleaded breach of duty and injury.

          Under Ohio law, a plaintiff need only allege facts showing “the existence of a duty, a

breach of that duty, and an injury that was proximately caused by the breach” to adequately

plead a negligence claim. Rieger v. Giant Eagle, Inc., 138 N.E.3d 1121, 1125 (Ohio 2019). 15

Plaintiffs’ Complaint meets this burden and, therefore, Defendants’ motion to dismiss must be

denied.

          Plaintiffs not only plead extensive facts that support their negligence claims but show

how Defendants’ failures caused the derailment—far exceeding Plaintiffs’ burden at this stage of

the litigation. See Gallivan v. United States, 943 F.3d 291, 293 (6th Cir. 2019) (“A complaint

survives a motion to dismiss under Rule 12(b)(6) by simply alleging facts ‘sufficient to state a

claim to relief that is plausible on its face.’” (citations omitted)). Defendants improperly focus on



14
   Trimbur did involve a train derailment, but the court addressed the ICCTA as an afterthought
after already concluding that the FRSA preempted relevant claims. In Tipton, the court opted to
dismiss a narrow portion of the plaintiffs’ negligence claim that did not relate solely to “railroad
safety procedures,” but to the “design and maintenance of the tracks and railroads themselves.”
2016 WL 11501426, at *8 (E.D. Tenn. July 7, 2016). Here, Plaintiffs do not allege any similarly
generalized obligations but instead allege failures of specific safety procedures.
15
   Because Defendants only challenge the adequacy of Plaintiffs’ negligence claims under Ohio
law, Plaintiffs do not discuss any other law that may apply.

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fewer than 10 isolated paragraphs in Plaintiffs’ 408-paragraph complaint, ignoring entirely

Plaintiffs’ other allegations concerning Defendants’ misconduct. Cahoo v. SAS Analytics, Inc.,

912 F.3d 887, 895 n.3 (6th Cir. 2019) (when determining the plausibility of claims at the motion

to dismiss stage, the complaint must be viewed as a whole). The Complaint extensively supports

its failure-to-inspect and failure-to-train allegations, including by, among other things, alleging

that Defendants (i) reduced “spending to...perform train inspections” as the result of their

adoption of precision scheduled railroading (“PSR”), Compl. ¶¶ 82, 95; (ii) “eliminate[d]

necessary inspections” and “deprioritize[d] rail and railcar inspections,” decreasing safety and

materially increasing the risk of derailments, id. ¶¶ 98, 101; (iii) reduced the number of their

employees responsible for conducting inspections, id. ¶¶ 105-06; (iv) bore responsibility for

“train[ing] each employee who transports hazardous materials[,]” but failed to adequately ensure

that employees “were properly trained and instructed” regarding the transportation of “hazardous

substances” such as vinyl chloride, id. ¶¶ 89, 232(w), 232(bb); and (v) failed to train employees

regarding “emergency procedures in the event of a possible derailment,” “proper procedures” for

responding to the “derailment of railcars containing hazardous materials,” and “mechanical

malfunction[s] of rail cars,” id. ¶ 232(t)-(bb). At a minimum, these facts amply support the

“reasonable inference” that Defendants breached duties owed to Plaintiffs, many of which arise

from federal regulations specifically cited in the Complaint. See Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (“A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.”). Plaintiffs’ allegations concerning Defendants’ numerous other breaches of applicable

duties are similarly supported and plausibly alleged, as Defendants concede by ignoring them. 16


16
   See Compl. ¶ 232 (identifying 40 ways in which Defendants breached duties to Plaintiffs). “It
is a well-established procedural rule in the Sixth Circuit that failure to raise an argument in a
motion acts as a waiver of that argument.” United States v. 2007 BMW 335i Convertible, 648 F.

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       The Complaint also plausibly and in detail alleges the ways in which Defendants’

breaches of duty caused Plaintiffs’ harms. In addition to myriad allegations explaining how

Defendants’ breaches caused the at-issue derailment, Plaintiffs allege that after the derailment

Defendants performed a “‘controlled release’” that led to “a large, fiery explosion that released a

plume of thick black smoke forming a mushroom cloud,” which spread “30 miles in each

direction from the Derailment Site.” 17 Compl. ¶¶ 135-41. These allegations establish an

unbroken chain of causation between Defendants’ breaches and the spread of hazardous

chemicals to Plaintiffs’ homes and businesses, which more than satisfies the applicable pleading

standard. 18 E.g., Gallivan, 943 F.3d at 293; Brown v. Whirlpool Corp., 996 F. Supp. 2d 623, 637-

38 (N.D. Ohio 2014) (denying motion to dismiss negligence claim where the plaintiffs alleged

“airborne emissions from” a plant and “airborne transmission from” a dump site exposed them to

harmful substances and noting that “[n]o further detail is required at this stage of the litigation”).

       Additionally, Plaintiffs allege they suffered harm because of Defendants’ breaches.

Among other things, the Complaint describes and catalogues the numerous harms Plaintiffs have

suffered, including lost income, property damage, contamination at residences and workplaces,

and increased risk of serious and potentially fatal illnesses including cancer and organ damage

necessitating ongoing medical monitoring. 19 Compl. ¶¶ 4-57, 240. Defendants’ erroneous



Supp. 2d 944, 952 (N.D. Ohio 2009).
17
   While the Complaint alleges the toxic chemicals spread in a 30-mile radius, as the litigation
progresses, Plaintiffs intend to rely on developed facts, evidence, and expert testimony to
establish the direction and scope of the toxic chemical spread.
18
   Unlike the plaintiffs in Salerno v. City of Niagara Falls, 2020 WL 5814406, at *6 (W.D.N.Y.
Sept. 30, 2020), Plaintiffs here adequately describe the direction in which the harmful chemicals
and smoke plume traveled and how and why they traveled there, leaving no gaps, let alone
“substantial gaps” on “migration, exposure, and causation.” Compare Compl. ¶¶ 135-41, with
Salerno, 2020 WL 5814406, at *18-19.
19
   Plaintiffs need not allege “physical manifestations of personal or bodily injury” to adequately
plead that they have suffered harm. Hirsch v. CSX Transportation, Inc., 2008 U.S. Dist. LEXIS
124211, at *19 (N.D. Ohio Oct. 22, 2008) (Polster, J.) (“[P]hysical injury is not required to
demonstrate damages entitling a plaintiff to medical monitoring relief.”).

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contention that Plaintiffs must, to survive a motion to dismiss, provide particularized allegations

about the manner in which property was harmed (MTD, p. 24) is both entirely unsupported and

fundamentally inconsistent with Rule 8(a)’s notice-pleading standard. 20 See HDC, LLC v. City of

Ann Arbor, 675 F.3d 608, 614 (6th Cir. 2012) (federal pleading standard does not require

“detailed factual allegations” (citation omitted)); see also Tipton, 2016 WL 11501426, at *17-18

(in train derailment case, plaintiffs plausibly alleged property damage where they pleaded a

possessory interest in real estate).

        The denial of a similar motion to dismiss in prior train derailment case in this District,

Hirsch v. CSX Transportation, Inc., is instructive. There, plaintiffs brought a putative class

action after a train carrying hazardous materials derailed. 2008 U.S. Dist. LEXIS 124211, at *2.

Like Plaintiffs here, the Hirsch plaintiffs asserted negligence claims and alleged the derailment

“was accompanied by a chemical spill, fire, and rail car explosion, allegedly causing toxic

substances, toxic fumes, and/or carcinogens . . . to be released into the atmosphere, ground and

water.” Id. at *2-3. The court denied the motion to dismiss the negligence claims, stating:

        Plaintiffs have sufficiently alleged that toxic substances were on the train and
        were released because of the derailment, they were exposed to these substances
        because of the derailment, the toxic substances are associated with an increased
        risk of disease, and because Defendant’s conduct caused them to be exposed to
        these toxic substances they face an increased risk of disease requiring medical
        monitoring.

Id. at *22. The substantially similar negligence allegations here justify the same result.

        Tipton is also instructive. There, plaintiffs brought negligence claims after “a train

derailment and subsequent release of toxic chemicals,” alleging that smoke, soot, and fumes

from the toxic chemical fire “may have settled on their yards or in their homes . . . or . . . may




20
  Unlike Plaintiffs here, the plaintiff in Hoffer v. Cooper Wiring Devices, Inc., 2007 WL
1725317 (N.D. Ohio June 13, 2007), on which Defendants rely, failed to allege a present injury.
Id. at *6.

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have gotten trapped in their homes.” 2016 WL 11501426, at *1-27 (emphasis added). As a result,

the plaintiffs alleged “that they have suffered property damage, inconvenience, fear, anxiety,

aggravation, and mental anguish, among other things.” Id. at *2. The Court summarily denied

defendants’ motion to dismiss the negligence claim in a single paragraph, finding that the

plaintiffs “detail[ed] how both defendants allegedly owed a duty to inspect, maintain, and repair

its rail cars and wheel roller bearings, to identify the toxic chemical involved in the derailment,

and to control the toxic chemical release.” Id. at *18. “Plaintiffs then allege how defendants

breached those duties, . . . and how such breaches were both a proximate cause and cause in fact

of plaintiffs’ damages.” Id. The court, therefore, could “‘draw the reasonable inference’ that each

defendant’s negligence was a proximate cause of the train derailment and subsequent chemical

spill and fire, which caused plaintiffs property and personal injury damage.” Id. (quoting Iqbal,

556 U.S. at 678). Plaintiffs’ Complaint here is similarly, if not more, detailed.

               2.      Plaintiffs’ have not pleaded stand-alone negligence per se claims.

       Plaintiffs have not pleaded a separate, stand-alone negligence per se claim under Ohio

law, but instead captioned Count 1 as “Negligence and Negligence Per Se.” Compl. At 50.

Plaintiffs detail the duties that Defendants breached, including identifying obligations set forth in

some relevant safety regulations. Under Ohio law, “evidence of a violation of the Safety

Regulations may be considered by the trier of fact as evidence of negligence.” Gruenbaum v.

Werner Enters., Inc., 2011 WL 563912, at *4 (S.D. Ohio Feb. 2, 2011); Jackson v. Arka Express,

Inc., 2022 WL 1136771, at *3 (N.D. Ohio Apr. 18, 2022).

       In addition, Defendants’ assertion that Plaintiffs fail “to explain which actions breached

which regulations, or what the regulations require” is incorrect. MTD, p. 25. Defendants again

narrowly focus on a single paragraph of the Complaint (¶ 237), ignoring numerous allegations

that detail the many ways in which Defendants violated federal regulations. See Cahoo, 912 F.3d




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at 895 n.3; Compl. ¶¶ 69-193, 227-43. Moreover, Plaintiffs need not include the regulatory text

in their complaint to satisfy their pleading burden; in fact, “a complaint need not even cite any

law in order to pass muster under the liberal pleading standards.” Baker v. John Morrell & Co.,

266 F. Supp. 2d 909, 922 (N.D. Iowa 2003); see also Smith v. Bank of Am., N.A., 615 F. App’x

830, 833 (5th Cir. 2015) (“A complaint need not cite a specific statutory provision or articulate a

perfect ‘statement of the legal theory supporting the claim asserted.’” (quoting Johnson v. City of

Shelby, 574 U.S. 10, 11 (2014)).

               3.      Plaintiffs properly alleged a claim for gross negligence.

       Defendants incorrectly contend that Plaintiffs failed to allege Defendants acted with the

requisite mens rea required to establish a claim for gross negligence. First, Plaintiffs clearly

alleged Defendants had actual knowledge of the risks their conduct posed to the community and

nevertheless acted wantonly and recklessly. See e.g., Compl. ¶¶ 402-407. The Complaint more

than sufficiently details Defendants’ specific actionable gross misconduct that caused serious and

permanent harm to residents of East Palestine and surrounding communities. Compl. ¶¶ 108-143.

These allegations comport with Ohio law that defines gross negligence as the “failure to exercise

even that care which a careless person would use.” Thompson Elec. v. Bank One, Akron, N.A.,

525 N.E.2d 761, 768 (Ohio 1988). “Under Ohio law gross negligence is defined as wanton or

reckless conduct.” Wiley v. City of Columbus, 36 F.4th 661, 671 (6th Cir. 2022) (citing Mohat v.

Horvath, 2013 WL 5450296, at *2 (Ohio Ct. App. Sept. 30, 2013) (affirming a denial of a

motion to dismiss; holding “a plaintiff is only required to allege a set of facts, which, if proven,

would plausibly allow him to recover”)). “Wanton misconduct is the failure to exercise any care

toward those to whom a duty of care is owed in circumstances in which there is a great

probability that harm will result.” Anderson v. City of Massillon, 983 N.E.2d 266, 273 (Ohio

2012). “Reckless conduct is characterized by the conscious disregard of or indifference to a




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known or obvious risk of harm to another that is unreasonable under the circumstances and is

substantially greater than negligence conduct.” Id. (citing Thompson v. McNeill, 559 N.E.2d 705

(Ohio 1990)).

        Plaintiffs more than adequately state a claim for gross negligence.

        B.      Plaintiffs Have Properly Stated A Claim For Strict Liability

                1.     Plaintiffs have pleaded sufficient facts to establish that Defendants’
                       conduct constituted abnormally dangerous activity.

        Plaintiffs allege Defendants were transporting over a million pounds of toxic and

hazardous chemicals; specify those chemicals and their specific dangers; note the initial

evacuation order for East Palestine and its subsequent expansion to a larger area; and detail

Defendants’ intentional explosive release and ignition of vinyl chloride that released those

hazardous chemicals and their combustion by-products into a residential community. Compl.

¶¶ 108, 123–24, 130, 133–37, 144–93, 245–48 (citing Restatement (Second) of Torts §§ 519 &

520).

        Ohio law generally recognizes the use of explosives as an ultrahazardous activity.

Dartron Corp. v. Uniroyal Chem. Co., Inc., 893 F. Supp. 730, 739 (N.D. Ohio 1995). “To come

within the doctrine, courts have found that the activity must have an immediate, high risk of

great physical harm to those in close proximity, which high risk cannot be reduced through the

exercise of due care.” In re E.I. du Pont de Nemours & Co. C-8 Pers. Injury Litig., 2015 WL

4092866, at *16 (S.D. Ohio July 6, 2015). The initial and later expanded evacuation orders

demonstrate there was an immediate and high risk of harm from the “controlled release” of the

toxic chemicals.

        Notwithstanding Defendants’ premature substantive arguments here, whether the

evidence establishes that Defendants’ actions of (1) carelessly transporting hazardous materials

and/or (2) later releasing and burning vinyl chloride constitute abnormally dangerous activities



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under applicable law including under § 520 of the Restatement (Second) of Torts is an issue to

be decided only after development of the factual evidence. See Schwartz v. Accuratus Corp., 7 F.

Supp. 3d 490 (E.D. Pa. 2014), vacated in part on other grounds, 655 F. App’x 111 (3d Cir.

2016) (denying defendants’ motion to dismiss as development of the factual record was

necessary to assess the § 520 factors).

       Moreover, contrary to Defendants’ argument, Fed. R. Civ. P. 8(a)(2) does not obligate

Plaintiffs to plead all six factors of abnormally dangerous activity from the Restatement (Second)

of Torts § 520. As explained by the court in Mangan v. Landmark 4 LLC, 2013 WL 950560

(N.D. Ohio Mar. 11, 2013), in denying defendant’s motion to dismiss:

       The six factors outlined in Section 520 of the Restatement Second of Torts are not
       elements of a strict liability claim. They are guidelines for the Court to use when
       determining whether the facts presented on Summary Judgment or at trial
       establish that the Defendants activities are abnormally dangerous for purposes of
       the strict liability laws. These factors are not exclusive, are not mandatory, and
       not required to be pled either with or without specificity.

Id. (citing Doherty v. Ohio State Univ., 1990 WL 86772, at *3 (Ohio Ct. App. June 26, 1990).

       Defendants’ motion to dismiss Plaintiffs’ strict liability claim for failure to plead conduct

that constitutes abnormally dangerous activity should be denied.

               2.      Plaintiffs may pursue alternative claims for strict liability and
                       negligence.

       Plaintiffs alternatively allege claims for both strict liability and negligence, which is

permitted under Fed. R. Civ. P. 8(a)(3). “‘Strict liability and negligence are complementary but

distinct theories of liability’ that Plaintiffs may plead in the alternative.” Mangan, 2013 WL

950560, at *3 (quoting Francis Corp. v. Sun Co., 1999 WL 1249534, at *1 (Ohio Ct. App. Dec.

23, 1999)). While Plaintiffs may not obtain recovery on both distinct theories, they are not

precluded from pursuing both theories in the alternative through the course of the litigation. Id.




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               3.      The common carrier exception does not apply.

        Contrary to Defendants’ assertion, the common carrier exception does not require

dismissal of Plaintiffs’ strict liability claim. First, Ohio has not adopted the common carrier

exception in the Restatement (Second) of Torts, § 521. 21 Defendants claim “railroads have

universally been considered by courts as common carriers entitled to the exception.” MTD, p. 29

(quoting BNSF Ry. Co. v. Eddy, 459 P.3d 857, 874 (Mont. 2020)). This quote comes from a case

in Montana, not Ohio. 22

        Second, even if this Court finds that Ohio would adopt the common carrier exception,

this does not extend to Defendants’ actions of releasing and burning vinyl chloride as such

actions far exceed the scope of the public duties imposed on Defendants as a common carrier.

Hanford Nuclear Reservation Litig., 534 F.3d 986, 1006 (9th Cir. 2008) (most courts that have

adopted the public policy duty in § 521 “have generally done so only to the extent a defendant

was legally required to perform the ultrahazardous activity”). While Defendants may have been

required to accept and transport the vinyl chloride as cargo, it voluntarily undertook activities in

furtherance of its own purpose; namely to get the derailed cars out of the way to start its trains

running through East Palestine again and to earn revenue. 23 Defendants’ decision to blast holes

in all five vinyl chloride tankers, dump the vinyl chloride in a trench, and light it on fire in a

residential neighborhood was not carried out in pursuance of their public duties and, therefore,



21
   While Plaintiffs acknowledge that comment a. to the Restatement (Second) of Torts § 519
states that this section should be read together with §§ 520 to 524A, the fact remains that not one
Ohio court has explicitly adopted the common carrier exception set forth in § 521.
22
   Defendants cite to the Ohio cases of Akron, Canton & Youngstown Railroad Co. v. I.C.C., 611
F.2d 1162 (6th Cir. 1979) and Trimbur v. Norfolk Southern Railway, 2015 WL 4755205 (S.D.
Ohio Aug. 10, 2015), yet these cases only hold that railroads are considered common carriers,
not that Ohio has adopted the common carrier exception in Restatement (Second) of Torts § 521.
23
   Defendants were operating trains through East Palestine again on February 8, 2023. See Rail
Traffic Resumes, Cleanup Continues in East Palestine, Trains (Feb. 8, 2023),
https://www.trains.com/trn/news-reviews/news-wire/rail-traffic-resumes-cleanup-continues-in-
east-palestine/.

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do not fall under the common carrier exception. See BNSF Ry., 459 P.3d 857 (the activities of

BNSF, other than the transportation of vermiculite, are not protected by the common carrier

exception).

        Defendants’ reliance on Johnson v. CSX Transportation., Inc., 2008 WL 4427211 (W.D.

Ky. Sept. 25, 2008), for the proposition that the common carrier exception extends to conduct

beyond the transportation of hazardous material is misplaced. First, unlike Ohio, Kentucky

courts have explicitly adopted Restatement (Second) of Torts § 521. Id. at *2. Second, while the

plaintiff in Johnson was harmed when he cleaned up contaminated soil from the derailment,

Plaintiffs here were harmed by Defendants’ subsequent voluntary decision to release and burn

vinyl chloride, releasing dangerous and toxic chemicals into the air. 24 See Murphy-Fauth v.

BNSF Ry. Co., 2018 WL 3601235, at *2 (D. Mont. July 27, 2018) (the common carrier exception

“does not apply when an entity engages in an abnormally dangerous activity for ‘its own

purpose.’” (citation omitted)).

        C.     Plaintiffs Have Properly Pleaded Statutory, Public, And Private Nuisance
               Claims

               1.      Plaintiffs adequately allege they suffered particularized injuries.

        It is well established under Pennsylvania and Ohio law, 25 as well as the Second

Restatement, 26 that when the nuisance causes physical harm to a plaintiff and/or his land or


24
   Defendants misstate the holding of East Troy v. Soo Line Railroad Co., 409 F. Supp. 326 (E.D.
Wis. 1976). The strict liability claim the court dismissed did not include claims for both the
derailment and “resultant chemical release.” Plaintiffs’ strict liability claim was based only on
the transportation of hazardous chemicals. Id. at 329-330.
25
   Defendants have not raised any issue with respect to a public nuisance claim under West
Virginia law. Such an argument should not be raised in a reply brief and, if so, Plaintiffs request
it be stricken or they have the opportunity to respond in a surreply. See Bender v. Comm'r of Soc.
Sec., 2012 WL 3913094, at *8 (N.D. Ohio Aug. 17, 2012) (“It is also inappropriate for the
undersigned to consider the arguments raised in Plaintiff's reply brief because they have been
waived. It is well-established that a party should not raise new arguments in a reply brief.”
(citing Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008)).
26
   Courts in Pennsylvania and Ohio follow the Second Restatement when considering public
nuisance claims. See Baptiste, 965 F.3d at 222. See also, Brown, 622 N.E.2d at 1160.

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chattels, it is “of a different kind than that suffered by the public.” Brown v. Cty. Comm’rs of

Scioto Cty., 622 N.E.2d 1153, 1160 (Ohio Ct. App. 1993) (“When the particular harm involved

consists of interference with the use and enjoyment of land, the landowner may recover . . . on

the basis of the particular harm to her resulting from the public nuisance . . . .”); Baptiste v.

Bethlehem Landfill Co., 965 F.3d 214, 220 (3d Cir. 2020) (under Pennsylvania law, the right to

use and enjoy one’s home and obtain full value of one’s property are personal rights that are

qualitatively different from the general right to clean air); see also Restatement (Second) of

Torts, § 821C cmt. D.

       Plaintiffs allege harm flowing to them that is distinct from the harms to the general public

because Defendants have unreasonably interfered with their personal and property rights. Compl.

¶¶ 2-58, 264, 276, 296. Plaintiffs allege that the particulate plume traveled to and/or hazardous

chemicals were found where Plaintiffs live, work, own property, or own a business. Id. at ¶¶ 141,

143, 205. As a result, Plaintiffs suffered interferences with their health (by being exposed to

unsafe levels of toxic chemicals increasing their risk of disease or illness), suffered interferences

with their property (including loss of use and enjoyment, property damage, diminution in value),

suffered interferences with their business, and/or suffered pecuniary losses (such as out-of-

pocket costs and loss of income). Id. at ¶¶ 2-58, 259–60, 271-72, 261, 273, 297.

       Defendants ignore these well-pleaded allegations and, instead, argue that because their

wrongful conduct harmed many, they should not be liable to any. See MTD, p. 31–32. That

simply is not the law. Indeed, in Kramer v. Angel’s Path, LLC, 882 N.E.2d 46, 55 (Ohio Ct. App.

2007), cited by Defendants, the Ohio Court of Appeals rejected such an argument, explaining:

“[u]nder this line of reasoning, a person creating a public nuisance could ‘escape’ liability simply

by harming more than one party.” Id. The Third Circuit has also rejected this argument, stating:

“[t]o adopt [the defendant’s] novel position would produce the anomalous result of penalizing




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small polluters while exempting larger polluters from the same liability.” Baptiste, 965 F.3d at

227 (applying Pennsylvania law).

        Defendants misconstrue “general public” to be limited only to those within the 30-mile

radius while excluding everyone outside the class from the analysis. See MTD p. 31. Defendants’

position is contrary to the law, which allows public nuisance claims to be brought as class

actions. See e.g., Baptiste, 965 F.3d at 222, 227 (finding that class action plaintiffs stated a public

nuisance claim and rejecting defendants’ mass nuisance argument); see also Thornburgh v. Ford

Motor Co., 2021 WL 1230271 (W.D. Mo. Mar. 31, 2021) (denying defendants’ motion to

dismiss class action plaintiffs’ public nuisance claim, noting that the complaint included specific

allegations of harm from the fifteen representatives); see also Restatement (Second) of Torts

§ 821C(2)(c).

        Plaintiffs do not seek to hold Defendants liable for their contribution to pollution in an

entire state, or the world for that matter. The claims here are limited to those persons harmed

because they live in, work in, own a business in, or own property in a specified radius

surrounding the crash and subsequent intentional ignition of toxic chemicals. Compl., ¶¶ 2-58,

194. These individuals have been affected differently from those falling outside the proposed

classes as the nuisance has caused an interference with rights of their personal health, business,

and/or property. Id., ¶¶ 2-58, 194, 264, 276, 296. 27




27
   Defendants’ reliance on Elmer is misplaced. The Elmer plaintiffs did not allege they suffered
particular harm distinct from that of the general public. See Elmer v. S.H. Bell Co., 127 F.
Supp.3d 812, 827 (N.D. Ohio 2015) (“None of the individual Plaintiffs pled that they suffered a
distinct injury or harm from those of the general public . . . .”); see also generally, Elmer v. S.H.
Bell Co., No. 4:13-cv-02735 (N.D. Ohio Mar. 30, 2015), ECF No. 50 (Second Amended
Complaint lacks even a single paragraph indicating that the plaintiffs’ harm is distinct from the
general public). Here, though, Plaintiffs have specifically alleged that the harm to them is distinct
from that of the general public. Compl., ¶¶ 264, 276, 296.

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               2.      Plaintiffs properly pleaded a claim for private nuisance.

       Actionable private nuisance requires an invasion of the private use and enjoyment of land

that is either: (1) intentional and unreasonable; or (2) unintentional but caused by negligent,

reckless, or abnormally dangerous conduct. Brown, 622 N.E.2d at 1158-59. Plaintiffs’ Complaint

demonstrates such an invasion and satisfies both alternative standards.

       The Complaint contains numerous allegations regarding how Defendants’ negligent and

reckless behavior led to the derailment, Compl. ¶¶ 90-122, 232-236, and how Defendants’

intentional conduct of blasting holes in the vinyl chloride tankers and lighting the vinyl chloride

on fire led to a mushroom cloud dispersing toxic chemicals for miles. Id. at ¶¶ 134-141. Plaintiffs

further allege the spread of toxic and hazardous chemicals into the local water and onto

neighboring private lands at great risk to human life. Id. at ¶¶ 125-131, 138-193. In short, the

“improper transportation, handling, and disposal” of the toxic and hazardous chemicals was

“negligent, reckless and/or intentional” and “contaminated real property located in the 30-mile

radius surrounding the East Palestine derailment site.” Id. at ¶¶ 279-282. These allegations far

surpass Plaintiffs’ obligation to state a claim for private nuisance.

       Ohio federal courts have rejected similar dismissal challenges to private nuisance claims.

See, Beck v. Stony Hollow Landfill, Inc., 2017 WL 1551216, at *1 (S.D. Ohio May 1, 2017)

(court held plaintiffs adequately pleaded their class action private nuisance claims when their

complaint alleged the defendant failed to properly construct, maintain, and operate its landfill

and “failed to sufficiently collect, capture, and destroy landfill gas” such that noxious odors

interfered with neighboring properties.); Green v. Begley Co., 2008 WL 4449065, at *2 (S.D.

Ohio Sept. 29, 2008) (court denied defendant’s motion to dismiss plaintiff’s private nuisance

claim as plaintiff alleged defendant’s “release of chemicals into the soil and groundwater was

both negligent and abnormally dangerous”).




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        D.     Plaintiffs Have Properly Pleaded Claims For Trespass

        Ohio recognizes a claim for indirect trespass based on chemical invasion of real property

by either aerial dispersion or groundwater. Little Hocking Water Ass’n v. E.I. du Pont de

Nemours & Co., 91 F. Supp. 3d 940, 978-79 (S.D. Ohio 2015). 28 Defendants’ motion to dismiss

must be denied as Plaintiffs have alleged substantial physical damages or substantial interference

with the reasonable and foreseeable use of property.

        The Sixth Circuit has explained that “in an Ohio indirect-trespass claim, a plaintiff may

establish substantial physical damages to, or interference with, his property by demonstrating

that the concentration of an invading contaminant on his property is likely to cause harm to

human health.” Abrams v. Nucor Steel Marion, Inc., 694 Fed. Appx. 974, 979-980 (6th Cir.

2017). 29 As in Abrams, Plaintiffs have alleged dangerous contamination of their groundwater,

air, and soil. Plaintiffs allege that Defendants’ “controlled release” and burn of the vinyl

chloride, caused a toxic mushroom cloud to disperse dozens of toxic chemicals and combustion

by-products traveling miles from the derailment site and “contaminating the air, surfaces, soil

and water.” Compl. ¶¶ 135-141. Plaintiffs specified the chemicals that invaded the air and

surfaces, as well as the potential physical harm caused by such chemicals. Compl. ¶¶ 141-193.

Plaintiffs allege that Defendants intentionally, knowingly, and negligently released hazardous

chemicals knowing that such toxins would contaminate Plaintiffs’ land and water. Compl. ¶ 302-

304. And, Defendants’ actions interfered with and substantially impaired Plaintiffs’ rights to the

use and enjoyment of their property, as well as economic and property damages. Compl. ¶ 308-


28
   Defendants concede by omission that the Pennsylvania and West Virginia Plaintiffs state a
claim. See Maroz v. Arcelormittal Monessen, 2015 WL 6070172, at *5 (W.D. Pa. Oct. 15, 2015)
(denying motion to dismiss trespass claim based upon defendant’s release of noxious odors and
air particulates onto plaintiffs’ property); Perrine v. E.I. du Pont, 694 S.E. 2d 815, 837, 872 (W.
Va. 2010) (upholding liability and compensatory damages verdict against du Pont for, inter alia,
trespass through release of dust, gases, and fumes onto nearby property.)
29
   See also, Day v. NLO, 851 F. Supp. 869, 879 (S.D. Ohio 1994) (Ohio law recognizes that an
increased risk of suffering from a disease or illness may be a compensable item of damage.)

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309.

        Defendants’ reliance on summary judgment decisions is misplaced. At the pleading stage,

this Court must take Plaintiffs’ allegations as true and draw inferences in their favor. Courts

routinely decline to dismiss trespass claims with similar damages allegations. See Elmer, 127 F.

Supp. 3d at 826 (“Plaintiffs allege that . . . they face increased risk of disease and that their

property has been contaminated.”); Green, 2008 WL 4449065, at *4 (“Plaintiff alleges that . . .

these contaminants continue to injure Plaintiff.”). As in these cases, “[i]t is premature to rule

upon the issue of damages in the context of a motion to dismiss stage as there has been no

discovery or development of a record in this case.” Weirton Area Water Bd. v. 3M Co., 2020 WL

7776542, at *8 (N.D. W. Va. Dec. 30, 2020). Plaintiffs have properly alleged a trespass claim

and should be permitted to prove their damages after development of the facts and their experts.

        E.      Plaintiffs Have Properly Pleaded Claims For Trespass-To-Chattels

        Contrary to Defendants’ assertion, Plaintiffs clearly alleged that Defendants’ intentional

conduct caused a trespass-to-chattels. Conduct is intentional when “the actor does something

which he believes is substantially certain to cause a particular result, even if the actor does not

desire that result.” Harasyn v. Normandy Metals, 551 N.E. 2d 962, 964 (Ohio 1990). See

Restatement (Second) of Torts § 217 cmt. c.

        Here, Plaintiffs alleged that Defendants detonated explosive charges on five rail cars

containing vinyl chloride. Compl. ¶¶ 136-38. Vinyl chloride is “prone to explode if not …

handled with proper methods….” Id. ¶¶ 146-47. This created a “large, fiery explosion that

released a large plume of thick black smoke forming a mushroom cloud over the entire area.” Id.

¶ 138. The plume spread out for miles, releasing approximately one million pounds of vinyl

chloride into the atmosphere. Id. ¶¶ 139-41, 153. Viewing these allegations in the light most

favorable to Plaintiffs, it was substantially certain that nearby chattels would suffer damage when

Defendants set off bombs on containers that contained massive volumes of highly explosive,


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toxic chemicals. See Bradley v. Am. Smelting & Refining Co., 709 P.2d 782, 786 (Wash. 1985)

(“It had to know that the solids propelled into the air by the warm gases would settle back to

earth somewhere.”).

       F.      Plaintiffs Have Properly Pleaded Their Statutory Agricultural Claims

       In a single paragraph, Defendants seek to dismiss Counts 9-12 of Plaintiffs’ Complaint.

Those Counts address Defendants’ violations of particular statutes in Ohio (Counts 9 and 12),

Pennsylvania (Count 10) and West Virginia (Count 11) related to agricultural property.

Defendants make no argument concerning Count 10 and devote a single sentence to Counts 9

and 11 and another sentence to Count 12. The fallacy underlying Defendants’ argument as to

these four counts is “Plaintiffs allege only that hazardous chemicals released from the derailment

disbursed within a 30-mile radius.” MTD, p.36. That erroneous statement is belied by the

multitude of actual allegations in the Complaint and the actual allegations in Counts 9-12.

Compl., ¶¶ 1, 69-193, 325-360, 402-408. There is simply no basis to dismiss Counts 9-12.

       G.      Plaintiffs Have Properly Pleaded Claims For Medical Monitoring

               1.      Medical monitoring is an element of damages under Ohio law.

       Plaintiffs concede that the presently prevailing view is that medical monitoring in Ohio is

a form of damages for an underlying tort claim. Wilson v. Brush Wellman, Inc., 817 N.E.2d 59,

63 (Ohio 2004); Compl. p. 81, n. 13. Contrary to the Defendants’ claims, Plaintiffs have properly

pleaded medical monitoring as a form of damage because Plaintiffs pleaded exposure to

hazardous materials which caused such an increased risk of disease that a reasonable physician

would order medical monitoring. Elmer, 127 F. Supp. 3d at 825 (“[I]f the Plaintiffs can establish

liability and an increased risk of disease, they may be entitled to medical monitoring as a

remedy.” (alteration and citation omitted)). To provide that monitoring, Plaintiffs have requested

quantifiable costs of a monitoring program, and/or injunctive relief in the form of a court-

established medical monitoring program. Compl. ¶¶ 216, 218, 224, 226.


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        As an element of damage, any substantive consideration of Plaintiffs’ medical monitoring

allegations is premature. 30

                2.      Plaintiffs’ allegations support their medical monitoring claims.

        Despite Plaintiffs’ clarity in pleading medical monitoring in Ohio as an element of

damages, Defendants claim that Plaintiffs have “not plausibly alleged that a reasonable physician

would order medical monitoring based on their alleged exposure.” MTD, p. 38. As an initial

matter, Norfolk Southern’s CEO conceded the necessity for medical monitoring in his

Congressional testimony when he stated that “[w]e are committed to a solution that addresses

long-term health risks through the creation of a long-term medical compensation fund.” Compl.

¶ 221. Moreover, under any potentially applicable law (Ohio, Pennsylvania 31, or West

Virginia 32), Plaintiffs have sufficiently alleged exposure to hazardous chemicals known to cause

damage to human central nervous systems and increased risk of specific cancers, reproductive

damage, birth defects, miscarriage, liver damage, increased prenatal mortality, kidney damage,




30
   As this Court also noted in Elmer, expert testimony is required to demonstrate increased risk of
disease, and expert proof is not required at this early stage of the litigation. 127 F. Supp. 3d at 825.
31
   To prevail on a common law claim for medical monitoring under Pennsylvania law, the
plaintiff must prove: (1) exposure greater than normal background levels; (2) to a proven
hazardous substance; (3) caused by the defendant's negligence; (4) as a proximate result of the
exposure, plaintiff has a significantly increased risk of contracting a serious latent disease; (5) a
monitoring procedure exists that makes the early detection of the disease possible; (6) the
prescribed monitoring regime is different from that normally recommended in the absence of the
exposure; and (7) the prescribed monitoring regime is reasonably necessary according to
contemporary scientific principles. Redland Soccer Club v. Dep't of the Army, 696 A.2d 137,
145-46 (Pa. 1997).
32
   To prevail on a medical monitoring claim in West Virginia the plaintiff must prove: (1) he or
she has been significantly exposed; (2) to a proven hazardous substance; (3) through the tortious
conduct of the defendant; (4) as a proximate result of the exposure, plaintiff has suffered an
increased risk of contracting a serious latent disease relative to the general population; (5) the
increased risk of disease makes it reasonably necessary for the plaintiff to undergo periodic
diagnostic medical examinations different from what would be prescribed in the absence of the
exposure; and (6) monitoring procedures exist that make the early detection of a disease possible.
Bower v. Westinghouse Elec. Corp., 522 S.E.2d 424, 432-33 (W. Va. 1999).

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coma, leukemia and lymphoma, lung damage, and death. 33 Compl. ¶¶ 145, 148, 149-50, 160,

162, 168, 170, 172-74, 177, 187-88, 190. These are not mere conclusory allegations. Further,

Plaintiffs have plausibly alleged they were exposed to such hazardous chemicals above

background levels and therefore are at increased risk of cancer and organ damage. Compl. ¶¶ 4,

7, 10, 14, 17, 48, 362, 372, 382. In fact, Plaintiffs allege that “[t]his increased risk would warrant

a reasonable physician to order monitoring.” Compl. ¶¶ 219, 366, 376, 386. These allegations

fully satisfy Plaintiffs’ obligation to meet Fed. R. Civ. P. 8’s “short and plain” pleading

requirements for medical monitoring regardless of whether it applies to Ohio, Pennsylvania or

West Virginia law.

        An additional problem with Defendants’ argument – for example, when it relies on Acord

v. Colane Co., 719 S.E.2d 761 (W. Va. 2011), which was decided after summary judgment – is

that Defendants demand that “plaintiff must prove” their case “with sufficient evidence” at the

pleading stage. MTD p. 37. That argument is misplaced in a Rule 12(b)(6) motion, where the

facts when plausibly alleged are assumed to be true and the only issue is whether the claim is

stated as a matter of law. Green v. Mason, 504 F. Supp. 3d 813, 827 (S.D. Ohio 2020) quoting

Darby v. Childvine, Inc., 964 F.3d 440, 444 (6th Cir. 2020). No doubt, when the time comes to

present evidence, such as in response to a summary judgment motion or at trial, if Plaintiffs fail

to prove the underlying bases for their medical monitoring claims (and all other claims), then

their claims will fail. But having Defendants request evidentiary proofs on a motion to dismiss is

baseless.

        Accordingly, Defendants’ argument that Plaintiffs have failed to adequately plead

medical monitoring damages or claims is unfounded and must be denied.




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  This list is not exhaustive; a more complete list of diseases to which the Plaintiffs are now at
heighted risk is included in the Complaint at ¶¶ 143-193.

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       H.      Plaintiffs Have Properly Stated a Claim For Spoliation

       Plaintiffs’ spoliation claim is premised on Defendants’ destruction of case-critical

evidence—the surveillance video from the cab of Train 32N—through Defendants’ automatic

process of recording over surveillance videos. Compl., ¶ 396. The case-critical nature of the

surveillance video is undisputed. Contrary to Defendants’ assertion, Plaintiffs have alleged

willful destruction of evidence: “As a result of the destruction of this video surveillance footage

from the cab of Train 32N . . . Defendants have willfully destroyed or interfered with evidence.”

Compl., ¶ 399. Furthermore, Defendants’ adherence to ordinary deletion protocols does not

preclude a plausible inference of their willful intent to destroy evidence. See Stevenson v. Union

Pac. R.R. Co., 354 F.3d 739, 747-748 (8th Cir. 2004) (court affirmed the trial court’s finding of

the railroad’s intent to suppress evidence despite it simply following its policy of reusing tapes).

       Consequently, Defendants’ adherence to its ordinary policy for retention of video

surveillance videos does not insulate it from a finding of willfulness with respect to Plaintiffs’

spoliation claim.

       I.      Plaintiffs Have Properly Pleaded Their Request For Punitive Damages

       Contrary to Defendants’ assertion, Plaintiffs have alleged actual malice. The actual

malice necessary for punitive damages is “a conscious disregard for the rights and safety of other

persons that has a great probability of causing substantial harm.” Preston v. Murty, 512 N.E.2d

1174, 1176 (Ohio 1987). “[A]ctual malice can be inferred from conduct and surrounding

circumstances which may be characterized as reckless, wanton, willful or gross.” Villella v.

Waikem Motors, Inc., 543 N.E.2d 464, 467 (Ohio 1989).

       Plaintiffs’ negligence claim describes a stream of reckless breaches that Defendant “knew

or should have known,” Compl. ¶ 230, had a great probability to cause substantial harm to

others, from “[f]ailing to properly inspect their trains and railcars,” id at ¶ 232(a), to “[a]ccepting

and transporting shipments of hazardous material that had pressure relief devices made of


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materials that were incompatible with the lading,” id. at ¶ 232(c), to “[f]ailing to immediately

notify train dispatchers about fires observed on roller bearings and the extent to which fires had

spread beyond the roller bearing,” id. at ¶ 232(f), to failing to set appropriate alarm thresholds on

wayside and hotbox detectors to determine “when a potentially dangerous condition exists,” id.

at ¶ 232(l), to failing to “ensure a proper mechanism for stopping or slowing malfunctioning

railcars in a timely manner to avoid a derailment while transporting . . . hazardous materials,” id.

at ¶ 232(o), and failing to “properly dispose of or otherwise eliminate the hazardous materials

from the derailment site.” Id. at ¶ 232 (gg).

       Plaintiffs’ remaining counts likewise plead Defendants’ recklessness and conscious

disregard for the rights and safety of others. See Compl. ¶¶ 243, 259-260, 265, 272-273, 277,

281, 289, 291, 300, 303, 312, 324, 334, 343, 352, 360, 408. Plaintiffs’ complaint alleges conduct

sufficient to state a claim for punitive damages. See Baatz v. Columbia Gas Transmission, LLC,

2016 U.S. Dist. LEXIS 200221, at *25–26 (N.D. Ohio Dec. 22, 2016) (plaintiffs’ allegations

stated plausible claim for punitive damages where they, in part, pleaded defendant’s “invasion

onto their properties [and] that such trespass was . . . done with conscious disregard for their

property rights”); Molnar v. City of Green, 140 N.E. 3d 1209, 1210-11 (Ohio Ct. App. 2019)

(“The complaint stated claim[] for . . . punitive damages that alleged grossly negligent, reckless,

wanton, and willful conduct.”)

                                         CONCLUSION

       Plaintiffs respectfully submit that Defendants’ Motion to Dismiss Plaintiffs’ Complaint

and Motion to Strike Plaintiffs’ Request for Punitive Damages must be denied. If the Court finds

any allegations insufficient, Plaintiffs respectfully request leave to amend.




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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(f)

       I certify that this Response Memorandum adheres to the page limitations set forth in

Local Rule 7.1(f) for mass-tort cases because it does not exceed 40 pages in length. See

Discovery Plan, Dkt 62 (May 23, 2023).




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on June 30, 2023 a copy of foregoing was filed electronically. Notice

of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s

system.



                                               / s/ Michelle L. Krantz
                                               Michelle L. Krantz




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